                  Case 2:20-cv-00300-KJD-VCF Document 9 Filed 10/27/20 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA



United States of America,                              DEFAULT JUDGMENT IN A CIVIL CASE
                                Plaintiff,
v.                                                     Case Number: 2:20-cv-00300-KJD-VCF


Sarah L. Miller,
                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the
         jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
         heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that judgment is entered in favor of Plaintiff and against Defendant in the amount of $125,483.91 in
         principal and $62,848.41 in accrued interest.




          10/16/2020
         10/8/2020
          10/27/2020
          10/2/2020
         9/30/2020
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ M. Reyes
                                                             Deputy Clerk
